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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             EASTERN DIVISION
______________________________________________________________________________

UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )
                                    )
v.                                  )          No. 1:16-cr-10082-STA
                                    )
WILLIAM FARRELL RUSSELL,            )
                                    )
            Defendant.              )
______________________________________________________________________________

  ORDER DENYING DEFENDANT’S MOTION FOR JUDGMENT OF ACQUITTAL
______________________________________________________________________________

       Before the Court is Defendant William Farrell Russell’s oral Motion for Judgment of

Acquittal made at the conclusion of the proof during his trial. The Court took Russell’s Rule 29

Motion under advisement. For the reasons set forth below, Defendant’s Motion is DENIED.

                                       BACKGROUND

       On August 15, 2016, a federal grand jury returned an indictment against Defendant

charging him with one count of distributing child pornography in violation of 18 U.S.C. §

2252(a)(1) and one count of possessing child pornography in violation of 18 U.S.C. §

2252(a)(4)(B). Defendant pleaded not guilty to both charges. The grand jury later superseded

the indictment two times, once on August 22, 2019, and again on September 19, 2019. A jury

trial commenced on September 14, 2020, and following three days of proof, the jury convicted

Defendant of both charges. Sentencing is currently set for January 5, 2021. 1


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        On September 28, 2020, Defendant filed pro se a notice of appeal (ECF No. 203) and a
motion for appointment of appellate counsel (ECF No. 204). The Court denied the motion for
appointment of appellate counsel as moot, and the United States Court of Appeals for the Sixth


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                                  STANDARD OF REVIEW

       Defendant’s Motion for a Judgment of Acquittal implicates Federal Rule of Criminal

Procedure 29. “The test for denial of a judgment of acquittal pursuant to Rule 29 of the Federal

Rules of Criminal Procedure is the same as the test for reviewing a claim that the evidence is

insufficient to support a conviction.” United States v. Pennyman, 889 F.2d 104, 106 (6th Cir.

1989). In reviewing claims for sufficiency of the evidence to support a conviction, the Court

should review the record in the light most favorable to the prosecution and grant relief only if it

is found that upon the evidence adduced at trial, no rational trier of fact could have found proof

of guilt beyond a reasonable doubt.     Jackson v. Virginia, 443 U.S. 307, 324 (1979); see also

United States v. Acosta-Cazares, 878 F.2d 945, 954–52 (6th Cir. 1989).

       The Court may not make its own determinations with respect to the credibility of

witnesses or the weight to be given such evidence. United States v. Levy, 904 F.2d 1026, 1032

(6th Cir. 1990). The jury, and not the Court, has the responsibility to “resolve conflicts in the

testimony, to weigh the evidence, and to draw reasonable inferences from basic facts to ultimate

facts.” United States v. Jones, 825 F. App’x 335 (6th Cir. 2020) (quoting Jackson, 443 U.S. at

319). The government must receive the benefit of all inferences which can reasonably be drawn

from the evidence. Glasser v. United States, 315 U.S. 60, 80 (1942). Under the Rule 29

standard, “circumstantial evidence alone is sufficient to sustain a conviction and such evidence

need not remove every reasonable hypothesis except that of guilt.” United States v. Abner, 35

F.3d 251, 253 (6th Cir. 1994); United States v. Prieur, 429 F.2d 1237, 1238 (6th Cir. 1970). The



Circuit dismissed Defendants appeal for lack of subject-matter jurisdiction on November 3,
2020. Defendant’s Rule 29 Motion is therefore ripe for determination.



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Sixth Circuit has stated that a defendant claiming “insufficiency of the evidence bears a very

heavy burden.” United States v. Nixon, 825 F. App’x 360 (6th Cir. 2020) (quoting United States

v. Abboud, 438 F.3d 554, 589 (6th Cir. 2006)).

                                          ANALYSIS

       Defendant has challenged the sufficiency of the government’s proof against him on the

charges of distributing child pornography and possessing child pornography.      The Court first

considers the government’s proof that Defendant possessed child pornography. Title 18 U.S.C. §

2252(a)(4)(B) makes it a crime to knowingly possess a visual depiction if the production of the

image involved the use of a minor engaging in sexually explicit conduct and the image depicts

such conduct. 18 U.S.C. § 2252(a)(4)(B). In order to prove the possession charge against

Defendant, the government had the burden to prove the following elements beyond a reasonable

doubt: (1) Defendant knowingly possessed one or more items containing a visual depiction; (2)

the production of the visual depiction involved the use of a minor engaging in sexually explicit

conduct; (3) the visual depiction was of a minor engaging in sexually explicit conduct; (4)

Defendant knew the visual depiction involved a minor engaging in sexually explicit conduct; and

(5) the visual depiction was produced using material that had been mailed, shipped or transported

in interstate commerce by any means including computer. 6th Cir. Pattern Jury Instr. 16.06.

       The Court holds that there was more than sufficient evidence to prove each of these

elements. First and foremost, Defendant never seriously disputed that a cell phone in his home

contained images depicting minors engaged in sexually explicit conduct and that he knew the

images depicted minors engaged in sexually explicit conduct. The jury saw a video recording of

Defendant’s custodial statement to investigators in which Defendant admitted that he had



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knowingly possessed images of minors engaged in sexually explicit conduct.             Defendant

confessed in his statement that the cell phone contained the images and that he knew the images

depicted minors engaged in sexually explicit conduct. Defendant also identified the cell phone

containing the images and told the investigators where they could find the device inside his

home. While it is true that Defendant suggested in his theory of the case that other people may

have had access to the device, the jury was free to reject this theory. Defendant’s recorded

statement amounted to an admission of guilty, and an “admission of guilt is sufficient evidence

to sustain the convictions” for possessing child pornography. United States v. Johnson, 775 F.

App’x 794, 800 (6th Cir. 2019) (affirming the sufficiency of a defendant’s incriminating

statement to convict the defendant of possession child pornography in violation of 18 U.S.C. §

2252A(a)(5)(B)); see also United States v. Oufnac, 449 F. App’x 472, 476 (6th Cir. 2011) (citing

United States v. Mellies, 329 Fed.Appx. 592, 607 (6th Cir.2009)). Defendant’s challenge to his

conviction for possessing child pornography is without merit.

       This just leaves the distribution charge. Title 18 U.S.C. § 2252(a)(1) makes it a crime to

knowingly distribute a visual depiction if the production of the image involved the use of a minor

engaging in sexually explicit conduct and the image depicts such conduct.           18 U.S.C. §

2252(a)(1). In order to prove the distribution charge against Defendant, the government had the

burden to prove the following elements beyond a reasonable doubt: (1) Defendant knowingly

distributed a visual depiction; (2) the production of the visual depiction involved the use of a

minor engaging in sexually explicit conduct; (3) the visual depiction was of a minor engaging in

sexually explicit conduct; (4) the defendant knew that the visual depiction was of a minor

engaging in sexually explicit conduct; and (5) the defendant distributed the visual depiction




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using a means or facility of interstate commerce. 6th Cir. Pattern Jury Instr. 16.04.

       The Court holds that there was sufficient evidence to find Defendant guilty beyond a

reasonable doubt of distributing child pornography. In the same recorded custodial statement,

Defendant told investigators that he sent images to an individual in Arkansas and that he would

cooperate with authorities to bring that individual to justice. Unbeknownst to Defendant, the

person with whom he had shared the child pornography was an undercover police officer. Just

as Defendant’s incriminating statements about possession of child pornography sufficed to

establish his guilt, his confession about distributing child pornography was enough to prove his

guilt of that conduct.    And this was not the only proof the jury heard about Defendant’s

distribution of child pornography. The jury also received evidence about online chats between

the undercover agent and a person using a social media platform called Kik. The undercover

officer received images of minors engaged in sexually explicit conduct from a Kik user called

“funfortaboo.” The anonymous “funfortaboo” sent the undercover officer child pornography and

eventually messages with his phone number and his home address. Police observed Defendant

on the premises of the address “funfortaboo” had shared with the undercover officer. Police

obtained a search warrant for the address and found Defendant there when they executed the

warrant at the property. Viewing this proof in a light most favorable to the prosecution, there

was sufficient evidence for the jury to find that Defendant was “funfortaboo” and had distributed

child pornography to the undercover agent. Based on the strength of this evidence, Defendant is

not entitled to a judgment of acquittal.

                                           CONCLUSION

       Because there was sufficient evidence to support Defendant’s convictions for possession



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and distribution of child pornography, Defendant’s Motion for Judgment of Acquittal DENIED.

       IT IS SO ORDERED.

                                          s/ S. Thomas Anderson
                                          S. THOMAS ANDERSON
                                          CHIEF UNITED STATES DISTRICT JUDGE

                                          Date: November 9, 2020.




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